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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                                        No. 17 CR 236
             v.
                                                        Judge Andrea R. Wood
JOSEPH D. JONES and
EDWARD SCHIMENTI


     PROTECTIVE ORDER PURSUANT TO SECTION 3 OF THE
        CLASSIFIED INFORMATION PROCEDURES ACT

      This matter comes before the Court upon the government’s motion for a

protective order to prevent the unauthorized use, disclosure or dissemination

of classified national security information and documents that will be

reviewed by or made available to, or are otherwise in the possession of,

defense counsel in this case.

      Pursuant to Sections 3 and 9 of the Classified Information Procedures

Act (“CIPA”), 18 U.S.C. App. 3 (2006), the Security Procedures established

pursuant to Section 9(a) of CIPA by the Chief Justice of the United States for

the Protection of Classified Information (reprinted following CIPA § 9)

(hereinafter the “Security Procedures”); the Federal Rules of Criminal

Procedure 16(d) and 57; the general supervisory authority of the Court; and,

in order to protect the national security, the following Protective Order

Pursuant to Section 3 of CIPA (“Order”) is entered.



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      IT IS HEREBY ORDERED:

      1.     This case involves information classified in the interest of the

national security of the United States pursuant to Executive Order 13526, as

amended. The storage, handling, and control of this information require

special security precautions, and access to this information requires an

appropriate security clearance and a need-to-know determination pursuant to

Executive Order 13526, as amended.

      2.     This Order establishes the procedures that must be followed by

all defense counsel of record, their designated employees, all other counsel

involved in this case, translators for the defense, any Court personnel, and all

other individuals who receive access to classified information or documents in

connection with this case. These procedures will apply to all pretrial, trial,

post-trial and appellate matters concerning classified information in this case

and may be modified from time to time by further order of the Court

pursuant to Sections 3 and 9 of CIPA, Rule 16(d) of the Federal Rules of

Criminal Procedure, and the Court’s inherent supervisory authority to ensure

fair and expeditious proceedings.




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      Definitions

      3.     As   used   herein,      the   terms   “classified   national   security

information and documents,” “classified information,” “classified documents,”

and “classified material” refer to:

             A.     Any document or information that has been classified by

any Executive Branch agency in the interest of national security or pursuant

to Executive Order 13526, as amended, or its predecessor orders, as

“CONFIDENTIAL,” “SECRET,” or “TOP SECRET,” or additionally controlled

as “SENSITIVE COMPARTMENTED INFORMATION” (“SCI”), or any

information contained in such documents;

             B.     Any information that defense counsel receives as discovery

in this case including, but not limited to, any information obtained from an

agency that is a member of the United States “Intelligence Community” (as

defined in section 3(4) of the National Security Act of 1947, codified at 50

U.S.C. § 401a(4)), other than the Federal Bureau of Investigation, shall be

presumed to fall within the meaning of classified information, unless and

until the Classified Information Security Officer or an authorized attorney for

the Government advises otherwise in writing;

             C.     Any document or information, regardless of its physical

form or characteristics, now or formerly in the possession of a private party,
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which has been derived from a United States Government classified

document, information, or material, regardless of whether such document,

information, or material has itself subsequently been classified by the

Government pursuant to Executive Order 13526, as amended, or its

predecessor orders, as “CONFIDENTIAL,” “SECRET,” or “TOP SECRET,” or

additionally controlled as “SCI”;

                D.      Classified   information   conveyed    verbally   to   defense

counsel, a defendant, or any employee of defense counsel;

                E.      Any      document     or   information,   including        verbal

information, which defense counsel have been notified orally or in writing

contains classified information; and

                F.      Any information, regardless of place or origin and including

“foreign government information” as that term is defined in Executive Order

13526, as amended, or its predecessor orders, that could reasonably be

believed to contain classified information.

      4.        The words “documents,” “information,” and “material” shall

include but are not limited to all written or printed matter of any kind,

formal     or        informal,    including   originals,   conforming     copies     and

non-conforming copies (whether different from the original by reason of



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notation made on such copies or otherwise), and further include but are not

limited to:

              A.     Papers, correspondence, memoranda, notes, letters, reports,

summaries,        photographs,   maps,   charts   and   graphs,   interoffice   and

intra-office communications, notations of any sort concerning conversations,

meetings or other communications, bulletins, teletypes, telegrams and

telefacsimiles, invoices, worksheets and drafts, alterations, modifications,

changes, and amendments of any kind to the foregoing;

              B.     Graphic or oral records or representations of any kind,

including but not limited to photographs, charts, graphs, microfiche,

microfilm, videotapes, sound recordings of any kind, and motion pictures;

              C.     Electronic, mechanical or electric records of any kind,

including but not limited to tapes, cassettes, disks, recordings, films,

typewriter ribbons, word processing or other computer tapes or disks, and all

manner of electronic data processing storage; and

              D.     Information acquired orally or verbally.

      5.      “Access to classified information” means having access to,

reviewing, reading, learning or otherwise coming to know in any manner any

classified information.



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      6.     “Secure Area” shall mean a physical facility approved by the

Classified Information Security Officer for the storage, handling, and control

of classified information at a level appropriate for the classification of the

information.

      7.     All classified documents or material and the information

contained therein shall remain classified unless the documents or material

bear a clear indication that they have been declassified by the agency or

department that is the originating agency (hereinafter the “Originating

Agency”) of the document, material, or information contained therein.

      8.     Classified Information Security Officer.    In accordance with the

provisions of CIPA and the Security Procedures, the Court has designated

Daniel O. Hartenstine as Classified Information Security Officer (“CISO”) for

this case, and Debra M. Guerrero-Randall, Matthew S. Juntz, Joan B.

Kennedy, Shawn P. Mahoney, Maura L. Peterson, Carli V. Rodriguez-Feo,

Harry J. Rucker, and W. Scooter Slade as Alternate Classified Information

Security Officers, for the purpose of providing security arrangements

necessary to protect from unauthorized disclosure any classified information

to be made available in connection with this case. Defense counsel shall seek

guidance from the CISO with regard to appropriate storage, handling,

transmittal, and use of classified information.
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        9.     Government Attorneys.       The Court has been advised that the

Government attorneys working on this case, Barry Jonas, Raj Laud, and

Lolita Lukose, and their respective supervisors (collectively referred to

hereinafter as the “Government Attorneys”), have the requisite security

clearances to have access to the classified information that relates to this

case.

        10.    Protection of Classified Information.      The Court finds that, in

order to protect the classified information involved in this case, only

appropriately       cleared   Government   Attorneys,    Department     of   Justice

employees, personnel of the Originating Agency, defense counsel, employees

of defense counsel, or translators employed by defense counsel, shall have

access to the classified information in this case.

        A.     Defense counsel, employees of defense counsel or defense

translators may obtain access to classified documents or information only if

such person has:

               1.     Received   the   necessary     security   clearance    at   the

appropriate level of classification, through or confirmed by the CISO;

               2.     Received permission of the Court, either through this Order

(for those named in paragraph 11 below) or by a separate Court order upon

showing of a need-to-know; and
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             3.    Signed the Memorandum of Understanding in the form

attached hereto, agreeing to comply with the terms of this Order.

       B.    Before receipt of any classified information, defense counsel shall

file originals of the executed Memoranda of Understanding with the Court

and the CISO and serve copies of such document upon the Government.

       C.    The substitution, departure and removal for any reason from this

case of counsel for a defendant, or anyone associated with the defense as an

employee or otherwise, shall not release that person from the provisions of

this Order or the Memorandum of Understanding executed in connection

with this Order.

       11.   Defense Counsel. Subject to the provisions of paragraph 10, the

following attorney(s) for the defense and their approved employee(s) and

translator(s) (collectively referred to hereinafter as “the Defense”), may be

given access to classified information as required by the Government’s

discovery obligations: Patrick Boyle for defendant Joseph Jones and Joshua

Adams for defendant Edward Schimenti. Any additional person whose

assistance either defense counsel reasonably require may have access to

classified information in this case only after obtaining from the Court – with

sufficient prior notice to the Government – an approval for access to the

appropriate level of classification on a need-to-know basis, and after



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satisfying the other requirements described in this Order for access to

classified information.

       12.   The fact that one person holds an appropriate security clearance

and is approved for access to classified documents or information does not

give that person the authority to disclose any classified documents or

information to any other individual. By way of example, but not limitation,

defense counsel are not authorized to discuss or otherwise disclose classified

documents or information with the defendants absent written permission of

the Government. To the extent the defendants may, pursuant to and in the

course of the Government’s discovery obligations, be allowed to review any

classified documents or information, an appropriate separate order may be

entered regarding those items.

       13.   Secure Area of Review.        The CISO, in consultation with the

Court and U.S. Marshal, shall arrange for an approved Secure Area for use

by the Defense. The CISO shall establish procedures to assure that the

Secure Area is accessible for the Defense during normal business hours, and

by exception, after hours or on weekends upon request of the CISO and in

consultation with the Court and U.S. Marshals Service. The Secure Area

shall contain a separate working area for the Defense, and will be outfitted

with any secure office equipment requested by the Defense that is reasonable

and necessary to the preparation of the defense in this case. The CISO, in

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consultation with defense counsel, shall establish procedures to assure that

the Secure Area may be maintained and operated in the most efficient

manner consistent with the protection of classified information at the level

necessary based on its level of classification. No documents or other material

containing classified information may be removed from the Secure Area

unless authorized by the CISO. The secure area shall not be accessible to the

Government Attorneys. The CISO shall not reveal to the Government the

content of any conversations he or she may hear among the Defense, nor

reveal the nature of documents being reviewed by them, nor the work

generated by them. In addition, the presence of the CISO shall not operate to

waive, limit, or otherwise render inapplicable, the attorney-client privilege.

       14.   Filings with the Court.     Until further order of this Court, any

motion, memorandum, or other document filed by the Defense that defense

counsel knows, or has reason to believe, contains classified information in

whole or in part, or any document the proper classification of which defense

counsel is unsure, shall be filed under seal with the Court through the CISO

or an appropriately cleared designee of his choosing. Pleadings filed under

seal with the CISO shall be marked “Filed In Camera and Under Seal with

the Classified Information Security Officer” and shall include in the

introductory paragraph a statement that the item is being filed under seal

pursuant to this Order, but need not be accompanied by a separate motion to

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seal. The date and time of physical submission to the CISO or a designee,

which should occur no later than 4:00 p.m., shall be considered as the date

and time of court filing. At the time of making a physical submission to the

CISO or a designee, counsel shall file on the public record in the CM/ECF

system a notice of filing. The notice should contain only the case caption and

an unclassified title of the filing. The CISO shall make arrangements for

prompt delivery under seal to the Court and counsel for the Government any

document to be filed by the Defense that contains classified information. The

CISO shall promptly examine the document and, in consultation with

representatives of the appropriate Government agencies, determine whether

the document contains classified information. If the CISO determines that

the document contains classified information, he or she shall ensure that the

classified portions of the document, and only those portions, are marked with

the appropriate classification marking and that the document remains under

seal. All portions of any document filed by the Defense that do not contain

classified information shall immediately be unsealed by the CISO and placed

in the public record.

       15.   Any document filed by the Government containing classified

information shall be filed under seal with the Court through the CISO or an

appropriately cleared designee of his choosing. Pleadings filed under seal

with the CISO or a designee shall be marked AFiled In Camera and Under

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Seal with the Classified Information Security Officer” and shall include in the

introductory paragraph a statement that the item is being filed under seal

pursuant to this Order, but need not be accompanied by a separate motion to

seal. The date and time of physical submission to the CISO or a designee,

which should occur no later than 4:00 p.m., shall be considered the date and

time of filing. Unless the pleading is filed AEx Parte,” the CISO shall make

arrangements for prompt delivery under seal to the Court and defense

counsel in a secure area any document to be filed by the Government that

contains classified information. At the time of making a physical submission

to the CISO or a designee, counsel shall file on the public record in the

CM/ECF system a notice of filing. The notice should contain only the case

caption and an unclassified title of the filing.

       16.   Sealing of Records: The CISO shall maintain a separate sealed

record for those pleadings containing classified materials, and retain such

record for purposes of later proceedings or appeal.

       17.   Access to Classified Information. Defense counsel and designated

employees shall have access to classified information only as follows:

             A.    All classified information produced by the Government to

the Defense, in discovery or otherwise, and all classified information

possessed, created or maintained by the Defense, shall be stored, maintained

and used only in the Secure Area established by the CISO;

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             B.      The Defense shall have free access to the classified

information made available to them in the Secure Area, and shall be allowed

to take notes and prepare documents with respect to those materials.

However, the Defense shall not, except under separate Court order, disclose

the classified information, either directly, indirectly, or in any other manner

which would disclose the existence of such, to pursue leads or in the defense

of the defendants;

             C.      The Defense shall not copy or reproduce any classified

information in any form, except with the approval of the CISO, or in

accordance with the procedures established by the CISO for the operation of

the Secure Area;

             D.      All documents prepared by the Defense (including, without

limitation, pleadings or other documents intended for filing with the Court)

that do or may contain classified information, shall be transcribed, recorded,

typed, duplicated, copied or otherwise prepared only by persons who have

received an appropriate approval for access to classified information, and in

the Secure Area on equipment approved for the processing of classified

information, and in accordance with the procedures established approved by

the CISO. All such documents and any associated materials (such as notes,

drafts, copies, typewriter ribbons, magnetic recordings, exhibits, etc.)

containing classified information shall be maintained in the Secure Area,

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unless and until the CISO determines that those documents or associated

materials are unclassified in their entirety. None of these materials shall be

disclosed to counsel for the Government;

             E.    The Defense shall discuss classified information only

within the Secure Area or in another area authorized by the CISO, and shall

not discuss or attempt to discuss classified information over any standard

commercial telephone instrument or office intercommunication system; and

             F.    The Defense shall not disclose, without prior approval of

the Court, any classified information to any person not authorized pursuant

to this Order, including the defendants and defense witnesses, except the

Court, appropriately cleared court personnel, and the Government Attorneys

who have been identified by the CISO as having the appropriate clearances

and the need-to-know that information. Any person approved by the Court for

disclosure under this paragraph shall be required to obtain the appropriate

security clearance, to sign and submit to the Court, under seal, the

Memorandum of Understanding appended to this Order, and to comply with

all terms and conditions of this Order. If preparation of the Defense requires

that classified information be disclosed to persons not named in this Order,

then, upon approval by the Court and upon prior notice to the Government,

the CISO shall promptly seek to obtain security clearances for them at the

request of defense counsel.

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       18.   Foreign Intelligence Surveillance Act (FISA). The defendant has

rights under the United States Constitution, federal statutes, and the

Federal Rules of Criminal Procedure to pre-trial discovery. The Government

recognizes its obligation to provide such discovery materials to defense

counsel in the most expeditious manner possible, consistent with public

safety and the confidentiality of sensitive ongoing investigations. Therefore,

to the extent that FISA-obtained or derived information is provided to the

defense counsel:

                   A.     Both the Defense and the Government shall have

access to such FISA information regardless of prior minimization efforts

undertaken by the Government upon initial review. It is contemplated that

the Government may produce material to the Defense determined to be

relevant to the proceedings even if not deemed pertinent when the material

was initially reviewed;

                   B.     Any draft transcripts or summaries of translated

electronic and paper materials that may be provided shall not be used in any

proceeding for any purpose, including cross-examination of any witness,

except pursuant to further order of this Court; and

                   C.     Notwithstanding any other provisions of this Order

or any subsequent order, the disclosure and discovery of materials that may

be provided to the Court, in camera and ex-parte, pursuant to FISA for legal

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determinations, including but not limited to any FISA applications, orders, or

materials, shall be governed by the provisions of FISA.

       19.   Procedures for the use or disclosure of classified information by

the Defense shall be those provided in Sections 5, 6 and 8 of CIPA. To

facilitate the Defense’s filing of notices required under Section 5 of CIPA, the

CISO shall make arrangements with the appropriate agencies for a

determination of the classification level, if any, of materials or information,

either within the possession of the Defense or about which the Defense has

knowledge and intends to use in any way at any pre-trial proceeding,

deposition or at trial. Nothing submitted by the Defense to the CISO

pursuant to this paragraph shall be made available to the Government

Attorneys unless so ordered by the Court, or so designated by the Defense.

Should the CISO confirm that the material or information is classified and

the Defense intends to use such classified information, the Defense shall file

a CIPA Section 5 notice. The Defense shall not use, disclose or cause to be

disclosed any classified information in any manner in connection with any

trial or pre-trial proceeding contrary to this Order or other order of this

Court, unless and until the procedures under CIPA have been followed or

waived by the Government in writing.

       20.   Violations of this Order.      Unauthorized use or disclosure of

classified information may constitute violations of United States criminal

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laws. In addition, violation of the terms of this Order shall be immediately

brought to the attention of the Court, and may result in a charge of contempt

of Court and possible referral for criminal prosecution. Any breach of this

Order will result in the termination of a person’s access to classified

information. Persons subject to this Order are advised that direct or indirect

unauthorized use, disclosure, retention or negligent handling of classified

information could cause serious damage to the national security of the United

States, or may be used to the advantage of a foreign nation against the

interests of the United States. This Order is to ensure that those authorized

by the Order to receive classified information will never divulge the classified

information disclosed to them to anyone who is not authorized to receive it, or

otherwise use the classified information, without prior written authorization

from the Originating Agency and in conformity with this Order.

       21.   All classified information to which the Defense has access in this

case is now and will remain the property of the United States Government.

Defense counsel, defense counsel employees, defense translators, and anyone

else who receives classified information pursuant to this Order shall return

all such classified information in their possession obtained through discovery

from the Government in this case, or for which they are responsible because

of access to classified information, to the CISO upon request. The notes,

summaries and other documents prepared by the Defense that do or may

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contain classified information shall remain at all times in the custody of the

CISO for the duration of this case. At the conclusion of all proceedings,

including any final appeals, all such notes, summaries and other documents

are to be destroyed by the CISO in the presence of defense counsel if so

desired.

       22.   Declassified Information.    As used herein, the term “declassified

information” refers to any and all classified information, which may be

declassified pursuant to the appropriate procedures of the original classifying

authority. Any declassified information will be treated by the defense as

“Sensitive Discovery Materials” under the Protective Order titled Protective

Order General and Sensitive Discovery Material.

       23.   Nothing in this Order shall preclude the Government from

seeking further protective orders pursuant to CIPA, FISA, and/or Rule 16(d)

as to particular items of discovery material.




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       24.   A copy of this Order shall be issued forthwith to counsel for the

defendants, who shall be responsible for advising the defendants and defense

counsel employees, of the contents of this Order.

                                      ENTER:




                                      ANDREA R. WOOD
                                      District Judge
                                      United States District Court
                                      Northern District of Illinois


       Date: May 24, 2017




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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION


UNITED STATES OF AMERICA
                                             No. 17 CR 236
            v.
                                             Judge Andrea R. Wood
JOSEPH D. JONES and
EDWARD SCHIMENTI


                 MEMORANDUM OF UNDERSTANDING


      I, __________________________________ , acknowledge that I have

received, read, and understand the Protective Order Pursuant to Section 3 of

CIPA entered by the Court on __________________________, 2017, in this case,

and I agree to comply with its provisions. I understand that I may be the

recipient of certain classified information or documents, and direct or indirect

unauthorized disclosure, retention, or negligent handling of classified

documents or information could cause serious damage to the national

security of the United States, or could be used to the advantage of a foreign

nation against the interests of the United States.

      I agree that I shall never divulge, publish, or reveal either by word,

conduct, or any other means, such classified documents or information unless

specifically authorized in writing to do so by an authorized representative of

the United States Government; or as authorized by the Court pursuant to the
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Classified Information Procedures Act and the Protective Order(s) entered in

this case.

      I further acknowledge that I have received, read, and understand the

Protective Order governing general discovery and sensitive discovery entered

in this case, entered by the Court on          , 2017, in this case, and I agree to

comply with its terms and conditions. I understand that I may be the

recipient of certain discovery material, including documents marked as

General Discovery Materials and Sensitive Discovery Materials (collectively

Athe Discovery Materials@), that may include information relevant to ongoing

national security investigations and prosecutions, and may implicate the

privacy interests of the defendant and third parties. I understand that direct

or indirect unauthorized disclosure, retention, or negligent handling of the

Discovery Materials I receive or review could cause serious damage to the

other national security investigations and prosecutions, and/or impact the

privacy interests of the defendant or third parties.

      I agree that I shall never divulge, publish, or reveal either by word,

conduct, or any other means, such Discovery Materials unless specifically

authorized in writing to do so by an authorized representative of the United

States Government; or as authorized by the Court pursuant the Protective

Order entered in this case.



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     I agree that this Memorandum and any other nondisclosure agreement

signed by me in connection with this case will remain forever binding upon

me, even after the conclusion of this case and any subsequent related

proceedings including the appellate process.



SIGNED:_____________________________________________
DATE:_________________


WITNESS: ______________________________________________
(signature)

WITNESS: __________________________________________
(print name)

DATE:_________________




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